Case 1:23-cr-00236-FB         Document 50        Filed 10/04/24      Page 1 of 1 PageID #: 263


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                                      ORDER ACCEPTING
                                                               GUILTY PLEA
        - against -

 SAGAR SINGH,                                                  Docket No. 23-CR-236 (FB)

                          Defendant.

 – – – – – – – – – – – – – – – – – –X

               IT IS THE FINDING of the Court, based upon a review of the transcript of the

guilty plea of the defendant, offered on June 17, 2024, before the Honorable Marcia M. Henry,

that the defendant pleaded guilty knowingly and voluntarily, and that there is a factual basis

supporting the defendant’s plea of guilty.

               IT IS HEREBY ORDERED that the guilty plea of the defendant is accepted.

                                             SO ORDERED


                                             /S/ Frederic Block
                                             HONORABLE FREDERIC BLOCK
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF NEW YORK


Dated: Brooklyn, New York
                 10-4- 2024
       ____________,
